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 1                                                                           CHIEF JUDGE LASNIK
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                                 IN THE UNITED STATES DISTRICT COURT
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                  FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
17
     UNITED STATES OF AMERICA,                          )   Case No. CR04-0093L
19                                                      )
                    Plaintiff,                          )
21                                                      )
            v.                                          )   ORDER GRANTING
23                                                      )   DEFENDANT MEDINA’S MOTION
     MARTIN MEDINA, JR.,                                )   TO BE PERMITTED TO VIEW AND
25                 Defendant.
                                                        )   PHOTOGRAPH UNIT D-C WITH HIS
                                                        )   INVESTIGATOR
27                                                      )
                                                        )
29
31                                                ORDER
33          The Court having considered Defendant Medina’s Motion to be Permitted to View and
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     Photograph Unit D-C with His Investigator, hereby GRANTS the motion. The Court ORDERS
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     that Mr. Medina’s attorney, Catherine Chaney, and investigator, Jerry Esterly, shall be permitted
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     to enter Unit D-C of the FDC SeaTac at a mutually agreed time on or before May 27, 2005, for
41
     the purposes of viewing the unit and taking photographs. Any photographs taken shall be subject
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     to separate Protective Order. The AUSA, Ms. Lally shall help facilitate this process and should
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     be present when the photographs are taken.
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49   //

     //

     ORDER GRANTING DEFENDANT MEDINA’S MOTION
     RE FDC
     CASE NO. CR04-0093L -- 1
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 1   //
 3          DATED this 24th day of May, 2005.
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                                                                A
                                                                Robert S. Lasnik
                                                                United States District Judge
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     Presented by:
17   s/Catherine Chaney
     Catherine Chaney
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     Attorney for Defendant Martin Medina, Jr.
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     ORDER GRANTING DEFENDANT MEDINA’S MOTION
     RE FDC
     CASE NO. CR04-0093L -- 2
